Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 1 of 43




                   EXHIBIT A
        Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 2 of 43

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/19/2022
                                                                                                    CT Log Number 540901742
TO:         James C. Guyon, Senior Litigation Paralegal
            Campbell Soup Company
            1 CAMPBELL PL
            CAMDEN, NJ 08103-1799

RE:         Process Served in New York

FOR:        Pepperidge Farm, Incorporated (Domestic State: CT)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: Marili Rasay // To: Pepperidge Farm, Incorporated
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 2021CA004788B
NATURE OF ACTION:                                 Product Liability Litigation
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, New York, NY
DATE AND HOUR OF SERVICE:                         By Priority Mail on 01/19/2022 postmarked: "Not Post Marked"
JURISDICTION SERVED :                             New York
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT will retain the current log

                                                  Image SOP
                                                  Email Notification, James C. Guyon jim_guyon@campbellsoup.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  28 Liberty Street
                                                  New York, NY 10005
                                                  866-401-8252
                                                  EastTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / RD
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 3 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 4 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 5 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 6 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 7 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 8 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 9 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 10 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 11 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 12 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 13 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 14 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 15 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 16 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 17 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 18 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 19 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 20 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 21 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 22 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 23 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 24 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 25 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 26 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 27 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 28 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 29 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 30 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 31 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 32 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 33 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 34 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 35 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 36 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 37 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 38 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 39 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 40 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 41 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 42 of 43
Case 1:22-cv-00449-BAH Document 1-1 Filed 02/18/22 Page 43 of 43
